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                                #:14629


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 12

 13                              UNITED STATES DISTRICT COURT

 14                            CENTRAL DISTRICT OF CALIFORNIA

 15

 16   NETLIST INC., a Delaware corporation,         Case No. 8:20-cv-00993-MCS-ADS

 17                        Plaintiff,               DECLARATION OF MARC F.
                                                    FEINSTEIN IN SUPPORT OF
 18          v.                                     DEFENDANT SAMSUNG'S EX PARTE
                                                    APPLICATION FOR APPROVAL OF
 19   SAMSUNG ELECTRONICS CO., LTD, a               SUPERSEDEAS BOND AND STAY OF
      Korean corporation,                           EXECUTION OF JUDGMENT
 20                                                 PURSUANT TO FEDERAL RULE OF
                           Defendant.               CIVIL PROCEDURE 62(b)
 21
                                                    Judge: Mark C. Scarsi
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        FEINSTEIN DECL. ISO SAMSUNG’S EX PARTE APPLICATION FOR SUPERSEDEAS
                                       BOND
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  1                                 DECLARATION OF MARC F. FEINSTEIN
  2          I, Marc F. Feinstein, declare and state as follows:
  3          1.      I am a partner of the law firm O’Melveny & Myers LLP, counsel of record for
  4   Defendant Samsung Electronics Co., Ltd. (“Samsung”) in the above-captioned matter, and am
  5   admitted to practice in the State of California and before this Court. I submit this declaration in
  6   support of Samsung’s Ex Parte Application for Approval of Supersedeas Bond and Stay of
  7   Execution of Award of Costs Pursuant to Federal Rule of Civil Procedure 62(b). Except those
  8   matters stated on information and belief, I have personal knowledge of the matters stated herein
  9   and could and would competently testify thereto.
 10          2.      To secure the award of costs in Netlist’s favor, dated April 1, 2022, in the amount
 11   of $55,385.04 (the “Cost Award”), Samsung obtained a supersedeas bond in the amount of
 12   $83,078.00, a true and correct copy of which is attached hereto as Exhibit 1.
 13          3.      Samsung is a large, publicly-traded company. According to the audited financial
 14   statements of Samsung for 2021, as reported at www.Samsung.com, a true and correct copy of
 15   which is attached hereto as Exhibit 2, Samsung Electronics had total equity of $266 billion as of
 16   December 21, 2021 and total revenue and profit of $244 billion and $34 billion, respectively, for
 17   the year ended December 31, 2021. See 7-8.
 18          4.      On April 7, 2022, O’Melveny partner Mike Yoder spoke to Rex Heinke, counsel
 19   for Netlist. Mr. Yoder asked whether Netlist would agree to stay execution of the Cost Award
 20   pending appeal and, if not, whether Netlist would agree not to execute on the Cost Award until its
 21   fee sanctions motion was decided, so that if there is also a fee award Samsung would only have to
 22   file a single motion for approval of bond and stay of execution. Mr. Heinke replied by email the
 23   next day, a true and correct copy of which is attached hereto as Exhibit 3, stating that Netlist
 24   demanded a bond as to the Cost Award and was unwilling to wait until a ruling on its fee
 25   sanctions motion.
 26          5.      On April 25, 2022, at 12:37 pm PT, I forwarded a copy of the attached supersedeas
 27   bond to Netlist’s counsel Jason Lo as well as Mr. Heinke via email and informed each of them
 28                                       -2-
         FEINSTEIN DECL. ISO SAMSUNG’S EX PARTE APPLICATION FOR SUPERSEDEAS
                                        BOND
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